      Case 1:21-cr-00553-TFH Document 34 Filed 05/18/22 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                              Holding a Criminal Term

                     Grand Jury Sworn in on February 14, 2022

UNITED STATES OF AMERICA                 :   CRIMINAL NO.
                                         :
          v.                             :   CASE NO. 21-CR-553
                                         :
THOMAS JOHN BALLARD,                     :   VIOLATIONS:
                                         :   18 U.S.C. § 231(a)(3)
                Defendant.               :   (Civil Disorder)
                                         :   18 U.S.C. §§ 1512(c)(2), 2
                                         :   (Obstruction of an Official Proceeding)
                                         :   18 U.S.C. §§ 111(a)(1) and (b)
                                         :   (Assaulting, Resisting, or Impeding
                                         :   Certain Officers Using a Dangerous
                                         :   Weapon)
                                         :   18 U.S.C. § 111(a)(1)
                                         :   (Assaulting, Resisting, or Impeding
                                         :   Certain Officers)
                                         :   18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
                                         :   (Entering and Remaining in a Restricted
                                         :   Building or Grounds with a Deadly or
                                         :   Dangerous Weapon)
                                         :   18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
                                         :   (Disorderly and Disruptive Conduct in a
                                         :   Restricted Building or Grounds with a
                                         :   Deadly or Dangerous Weapon)
                                         :   18 U.S.C. §§ 1752(a)(4) and (b)(1)(A)
                                         :   (Engaging in Physical Violence in a
                                         :   Restricted Building or Grounds with a
                                         :   Deadly or Dangerous Weapon)
                                         :   40 U.S.C. § 5104(e)(2)(D)
                                         :   (Disorderly Conduct in a Capitol
                                         :   Building) 40 U.S.C. § 5104(e)(2)(F)
                                         :   (Act of Physical Violence in the Capitol
                                             Grounds or Buildings)
                                   INDICTMENT

    The Grand Jury charges that:
          Case 1:21-cr-00553-TFH Document 34 Filed 05/18/22 Page 2 of 5




                                         COUNT ONE

       On or about January 6, 2021, at approximately 2:24 p.m., within the District of Columbia,

THOMAS JOHN BALLARD, committed and attempted to commit an act to obstruct, impede,

and interfere with a law enforcement officer lawfully engaged in the lawful performance of his/her

official duties incident to and during the commission of a civil disorder which in any way and

degree obstructed, delayed, and adversely affected commerce and the movement of any article and

commodity in commerce and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

                                         COUNT TWO

       On or about January 6, 2021, at approximately 4:47 p.m., within the District of Columbia,

THOMAS JOHN BALLARD, committed and attempted to commit an act to obstruct, impede,

and interfere with a law enforcement officer lawfully engaged in the lawful performance of his/her

official duties incident to and during the commission of a civil disorder which in any way and

degree obstructed, delayed, and adversely affected commerce and the movement of any article and

commodity in commerce and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

                                       COUNT THREE

       On or about January 6, 2021, within the District of Columbia and elsewhere, THOMAS

JOHN BALLARD attempted to, and did, corruptly obstruct, influence, and impede an official

proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the

Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. §§ 15-18.

       (Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
       18, United States Code, Sections 1512(c)(2) and 2)

                                                2
          Case 1:21-cr-00553-TFH Document 34 Filed 05/18/22 Page 3 of 5




                                         COUNT FOUR

       On or about January 6, 2021, at approximately 2:24 p.m., within the District of Columbia,

THOMAS JOHN BALLARD, did forcibly assault, resist, oppose, impede, intimidate, and

interfere with, an officer and employee of the United States, and of any branch of the United States

Government (including any member of the uniformed services), while such officer or employee

was engaged in or on account of the performance of official duties, and where the acts in violation

of this section involve physical contact with the victim and the intent to commit another felony.

       (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
       States Code, Section 111(a)(1))

                                         COUNT FIVE

       On or about January 6, 2021, at approximately 4:47 p.m., within the District of Columbia,

THOMAS JOHN BALLARD, using a deadly or dangerous weapon, that is, a tabletop, a baton,

pieces of wood and a pole, did forcibly assault, resist, oppose, impede, intimidate, and interfere

with, an officer and employee of the United States, and of any branch of the United States

Government (including any member of the uniformed services), while such officer or employee

was engaged in or on account of the performance of official duties, and where the acts in violation

of this section involve physical contact with the victim and the intent to commit another felony.

       (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
       violation of Title 18, United States Code, Sections 111(a)(1) and (b))

                                          COUNT SIX

       On or about January 6, 2021, within the District of Columbia, THOMAS JOHN

BALLARD, did knowingly enter and remain in a restricted building and grounds, that is, any

posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was and would be temporarily visiting, without lawful authority
                                                 3
          Case 1:21-cr-00553-TFH Document 34 Filed 05/18/22 Page 4 of 5




to do so, and, during and in relation to the offense, did use and carry a deadly and dangerous

weapon, that is, a tabletop, a baton, pieces of wood and a pole.

       (Entering and Remaining in a Restricted Building or Grounds with a Deadly or
       Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and
       (b)(1)(A))
                                         COUNT SEVEN

       On or about January 6, 2021, within the District of Columbia, THOMAS JOHN

BALLARD, did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

was and would be temporarily visiting, when and so that such conduct did in fact impede and

disrupt the orderly conduct of Government business and official functions and, during and in

relation to the offense, did use and carry a deadly and dangerous weapon, that is, a tabletop, a

baton, pieces of wood and a pole.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
       Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
       1752(a)(2) and (b)(1)(A))

                                         COUNT EIGHT

       On or about January 6, 2021, within the District of Columbia, THOMAS JOHN

BALLARD, did knowingly engage in any act of physical violence against any person and property

in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting and, during and in relation to the offense, did use and carry a deadly and

dangerous weapon, that is, a tabletop, a baton, pieces of wood and a pole.

       (Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

                                                  4
          Case 1:21-cr-00553-TFH Document 34 Filed 05/18/22 Page 5 of 5




       Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4) and
       (b)(1)(A))

                                         COUNT NINE

       On or about January 6, 2021, within the District of Columbia, THOMAS JOHN

BALLARD, willfully and knowingly engaged in disorderly and disruptive conduct within the

United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,

disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,

and the orderly conduct in that building of a hearing before or any deliberation of, a committee of

Congress or either House of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))

                                         COUNT TEN

       On or about January 6, 2021, within the District of Columbia, THOMAS JOHN

BALLARD, willfully and knowingly engaged in an act of physical violence within the United

States Capitol Grounds and any of the Capitol Buildings.

       (Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
       United States Code, Section 5104(e)(2)(F))


                                             A TRUE BILL:



                                             FOREPERSON.



Attorney of the United States in
and for the District of Columbia.




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